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IN THE uNlTED sTATEs DlsTnlcT couRT “""‘L‘ " ' - '“‘~"
Fon THE wEsTERN DisTnlcT oF TENNESSEE §§ fm _E PH !9. 32
WESTEHN olvlsloN d 1 ~-
uNlTED sTATEs oF AMEnch,
P|aintiff,
vs.

CR. NO. O4-20512-B
MUJAH|D MUHAM|V|AD,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date due to pending motions
in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monday, August 29l 2005, at 9:30 a.m., in Courtroom 1. 11th Floor of the

Federa| Building, lVlemphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.
ss

|T lS SO ORDERED this / day Of ,2005.

 

.D NiEL BREEN \
Nl ED sTATEs DlsTRlcT JUDGE

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 48 in
case 2:04-CR-205 12 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

